                        Case 2:24-cr-00091-ODW Document 142 Filed 10/30/24 Page 1 of 1 Page ID
    UNITED STATES DISTRICT COURT                            TRANSCRIPT   #:1692 ORDER FORM                                COURT USE ONLY
   CENTRAL DISTRICT OF CALIFORNIA          Please use one form per court  reporter per case, and contact court reporter    DUE DATE:
                                        directly immediately after e-filing form. (Additional instructions on next page.)
   1a. Contact Person        Camie Linnell                                                           2a. Contact Phone           702-521-5384                            3a. Contact E-mail       clinnell@cslawoffice.net
       for this Order                                                                                    Number                                                              Address


   1b. Attorney Name         David Z. Chesnoff                                                       2b. Attorney Phone 702-384-5563                                     3b. Attorney E-mail dzchesnoff@cslawoffice.net
       (if different)                                                                                    Number                                                              Address

  4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)                                                             5. Name & Role of             Alexander Smirnov, Defendant
  Chesnoff & Schonfeld                                                                                                     Party Represented

  520 S. Fourth St                                                                                                                                    USA v. Smirnov
                                                                                                                        6. Case Name
  Las Vegas, NV 89101

                                                                                                                        7a. District Court            2:24-cr-00091                                      7b. Appeals Court
                                                                                                                            Case Number                                                                      Case Number

  8. INDICATE WHETHER PROCEEDING WAS (choose only one per form):
                         DIGITALLY RECORDED                              TRANSCRIBED BY A COURT REPORTER; NAME OF COURT REPORTER:


 9. THIS TRANSCRIPT ORDER IS FOR:                          Appeal             Non-Appeal                          Criminal                 Civil                 CJA        USA             FPD          In forma pauperis (Court order for transcripts must be attached)

                                                                                                                                                                                       You MUST check the docket to see if the transcript has already been filed, and if so,
 10. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested, format(s), and delivery type):                                             provide the "Release of Transcript Restriction" date in column c, below.
  a. HEARING(S) OR PORTIONS OF HEARINGS (Attach additional pages if necessary. If sealed, a court                                                                         (CM/ECF access included          c. RELEASE OF TRANS.
                                                                                                                                            b. SELECT FORMAT(S)                                                                          d.        DELIVERY TYPE
  order releasing transcript to the ordering party must be attached here or emailed to                                                                                   with purchase of transcript.)      RESTRICTION DATE             30-day, 14-day, 7-day, 3-day, Daily, Hourly
  transcripts_cacd@cacd.uscourts.gov.)
    HEARING Minute Order                                           PROCEEDING TYPE / PORTION                                                          TEXT /            CONDEN-    CM/ECF                     (Provide release date of        (Check with court reporter
                       Docket#       JUDGE         If requesting less than full hearing, specify portion (e.g., witness or time).
                                                                                                                                             PDF                                            WORD
                                                                                                                                                                                                           efiled transcript, or check to before choosing any delivery time
     DATE                                                                                                                                              ASCII    PAPER      SED     ACCESS
                    (if available)   (name)            CJA orders: indicate if openings, closings, voir dire, or instructions requested.
                                                                                                                                            (email)
                                                                                                                                                      (email)            (email)    (web)
                                                                                                                                                                                          INDEXING
                                                                                                                                                                                                             certify none yet on file. )    sooner than "Ordinary-30.")
    9/9/24              125            Wright           Hearing on Motion for Order for Access to CIPA 4 Filing                               ●                                                                                           3-Day
    9/9/24              125             Wright         Hearing on Government's Motion for Protective Order                                                                                                                                3-Day
                                                                                                                                              ●




 11. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC. CJA Orders: Explain necessity of non-appeal orders, orders for transcripts of proceedings involving only a co-defendant, & special authorizations to be
 requested in Section 14 of CJA-24 Voucher (attach additional pages if needed).




 12. ORDER & CERTIFICATION. By signing below, I certify that I will pay all charges (deposit plus additional), or, where applicable, promptly take all necessary steps to secure
 payment under the Criminal Justice Act.
                                                         Date 10/30/24                                  Signature /s/
G-120 (06/18)
